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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 ANDERSON DIVISION

 David Yoder and Yoder Naturals, LLC f/k/a  )
 Yoder’s Good Health Products, LLC,         )              C.A. No.: 8:18-cv-01983-DCC
                                            )
        Plaintiffs/Counterclaim Defendants, )
                                            )
        v.                                  )
                                            )
 YGHR Sales, LLC, Jayme Maness, Estate of )
 James William Maness, and The James        )
 William Maness and Gwendolyn Sue           )
 Maness Living Trust, Jason Maness          )
                                            )
        Defendants.                         )
                                            )
 YGHR Sales, LLC and The James William      )
 Maness and Gwendolyn Sue Maness Living )
 Trust,                                     )
                                            )
        Defendants/Counterclaim Plaintiffs. )
                                            )

        This matter is before the Court on defendant Jason Maness’ motion to dismiss Plaintiffs’

Second Amended Complaint pursuant to Federal Rule of Civil Procedure 12(b)(2) Docket Entry

130. At the hearing on this matter, the defendants represented that Jason Maness is not an owner

of the Yoder Good Health Recipe trademark (the “Mark”) and claims no individual interest in the

Mark.

        Based on this representation, Plaintiffs agreed to dismiss Jason Maness from this action

without prejudice. The parties agree that such a dismissal is proper pursuant to Federal Rule of

Civil Procedure 41(a)(2) and resolves Jason Maness’ motion to dismiss.

        Therefore, Jason Maness is dismissed from this action without prejudice and his motion to

dismiss is withdrawn as moot.




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       AND IT IS SO ORDERED.



                                                 s/Donald C. Coggins, Jr.
                                                 United States District Court Judge

November 6, 2020
Spartanburg, South Carolina




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